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IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

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CALIFORNIA DEPARTMENT OF | Case No.: Cy 1 0 0 3 3 7 g

TOXIC SUBSTANCES CONTROL

and the CALIFORNIA TOXIC NOTICE OF RELATED CASE:
SUBSTANCES CONTROL
ACCOUNT, The Related Case: California

AMERICAN HONDA MOTOR CO.,
INC.; ANADARKO E&P
COMPANY LP; ATLANTIC
RICHFIELD COMPANY; BAYER
CROPSCIENCE INC.; THE
BOEING COMPANY; CHEMICAL
WASTE MANAGEMENT, INC.;
CHEVRON ENVIRONMENTAL
MANAGEMENT COMPANY; CITY
OF LOS ANGELES, acting by and
through the LOS ANGELES
DEPARTMENT OF WATER AND
POWER; CONOCOPHILLIPS
COMPANY; THE DOW

Department of Toxic Substances
Plaintiffs, | Control et al vy. American Honda

Motor, Co., Inc et al.
vy. CV05-7746 CAS(JWJx)

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CHEMICAL COMPANY;
DUCOMMUN
AEROSTRUCTURES, INC.;
EXXONMOBIL CORPORATION;
GEMINI INDUSTRIES, INC.;
GENERAL LATEX AND
CHEMICAL CORPORATION;
HONEYWELL INTERNATIONAL,
INC.; HUNTINGTON BEACH
COMPANY; LOCKHEED MARTIN
CORPORATION; MCFARLAND
ENERGY, INC.; MORTON
INTERNATIONAL, INC.;
NATIONAL STEEL AND
SHIPBUILDING COMPANY;
NORTHROP GRUMMAN
CORPORATION; QUEMETCO,
INC.; RAYTHEON COMPANY;
ROHR, INC.; ROHM AND HAAS
COMPANY; SHELL OIL
COMPANY; SOUTHERN
CALIFORNIA EDISON COMPANY;
THUMS LONG BEACH
COMPANY; UNION CARBIDE
CORPORATION; UNION OIL
COMPANY OF CALIFORNIA;
WASTE MANAGEMENT
COLLECTION AND RECYCLING,
INC.; WESTERN WASTE
INDUSTRIES; and XEROX
CORPORATION,

Defendants.

Plaintiffs, California Department of Toxic Substances Control (DTSC) and the
California Toxic Substances Control Account (Account), respectfully notify the
Court that the case which they are filing today concerns a hazardous substance

cleanup process that was the subject of an action previously filed and settled in this

2 5/5/2010

Case 2:10-cv-03378-DDP-AJW Document 4 Filed 05/05/10 Page 30f4 Page ID #:36
1 | Court. The prior action is California Department of Toxic Substances Control et al
2 | v. American Honda Motor, Co., Inc. et al, CV05-7746 CAS(JWJx).
3 1. Both actions concern the hazardous substances facility known as the
4 | BKK Landfills Facility, a 583-acre facility located at 2210 South Azusa Avenue, in
5 | West Covina, California (“the Facility”). The Facility contains, among other
6 | things, a closed Class I hazardous waste landfill (“Class I Landfill’), a closed Class
7 | Ill municipal landfill, and related facilities.
8 2. Both actions seek recovery of past response costs and the performance of
9 | certain tasks via injunctive relief at the Class I Landfill pursuant to Section 107 of
10 | the Comprehensive Environmental Response, Compensation, and Liability Act of
11 | 1980, 42 U.S.C. §§ 9601, 9607, as amended (“CERCLA”), and California Health
12 | and Safety Code section 25358.3(e).
13 3. DTSC filed the complaint the prior action on October 31, 2005. On
14 | March 9, 2006, the Court entered the Amended First Consent Decree, which
15 | became effective on March 20, 2006. The Amended First Consent Decree as
16 | specified therein resolved the allegations of the Amended First Consent Decree.
17 4. Concurrent with the filing of the present complaint, DTSC is lodging a
18 | proposed Second Consent Decree that would as specified therein resolve the
19 | matters alleged in the present complaint.
20 5. The defendants in the two actions are largely the same. Two of the
21 || defendants in the first action have filed for bankruptcy and are not parties to the
22 | Second Consent Decree. Eight additional defendants who were not parties to the
23 | prior action are named in the present complaint and have joined the Second Consent
24 | Decree.
25 6. The Amended First Consent Decree, inter alia, requires the defendants
26 | named in the prior action to operate and maintain certain facilities and control
27 || systems at the Class I Landfill for the duration of that consent decree and to
28 || perform certain other tasks at the Class I Landfill. The Amended First Consent
3 5/5/2010

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Decree was and was intended to be an interim step towards the negotiation of a
more permanent solution for the long-term operation and maintenance of the Class I
Landfill.

7. Like the Amended First Consent Decree, the Second Consent Decree is
an interim solution; it would ensure the continued performance of work required
under the Amended First Consent Decree as well as the performance of additional
site investigations. The Second Consent Decree will be in place for a limited term,
extendable by the parties.

8. DTSC will conduct a public notice period for the Second Consent
Decree. At the end of that period, unless public comments indicate otherwise,
DTSC will ask the Court to enter the Second Consent Decree. DTSC will file a
noticed motion summarizing and responding to each of the comments it receives
from the public, if any. DTSC respectfully requests that the Court not enter the
Second Consent Decree until the Court has had the opportunity to review DTSC’s

motion.

Dated: M ay b 20 ( O Respectfully submitted,

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